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                          EXHIBIT A
                         FINAL REDACTED
                             VERSION
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                 IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                                  BID PROTEST


AMAZON WEB SERVICES, INC.,
                                                       Case No. 19-cv-01796
                      Plaintiff,
                                                        Judge Campbell-Smith
     V.

UNITED STATES OF A.NIERI A,
by and through the U.S. Department of Defense,
                                                        REDACTED VERSION
                      Defendant,

     and

MICROSOFT CORPORATION,

                      Defendant-Interve11or.



                      PLAINTIFF AMAZON WEB SERVICES, INC.'S
                             NOTICE OF DEPOSITIONS

          PLEASE TAKE NOTICE that, pursuant to Rule 30 of the Rules of the Comi of Federal

Claims and this Court's order(s), Plaintiff Amazon Web Services, hie. ("AWS") shall take the

depositions of the following individuals at the office of Gibson, Dunn & Crutcher LLP,

 1050 Connecticut Avenue, N.W., Washington, D.C. 20036-5306, at dates and times to be mutually

agreed upon by the patties. The depositions will be taken before a person authorized by law to

ad.1.uin.ister oaths under Rule 28. The deposition shall be recorded both stenographically and by

videotape, and LiveNote may be used. If the deposition cannot be completed in one day, it will

continue from day to day until completed. A WS serves this Notice of Depositions without waiver

of its right to notice additional depositions and/or topics of examim1tion as authorized by the

applicable rnles and the Comt's order(s).
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               Person                                   Topic(s) for Examination

Donald J. Trump, President of          a. President Trump's involvement in any aspect of the
the United States 1                       JEDI program, contract, solicitation, and/or award.

                                      b. President Tnunp's statements regarding:

                                          1. A WS, Amazon.com, Inc. ("Amazon"), Jeffrey P.
                                             Bezos, and/or the Washington Post;

                                          2. The JEDI program, contract, solicitation, and/or
                                             award.

                                      c. President Trump's communications and interactions
                                         with Oracle, Microsoft, or any other offeror for the
                                         Joint Enterprise Defense lnfrastmcture ("JEDI")
                                         solicitation regarding the JEDI program, contract,
                                         solicitation, and/or award, AWS, Amazon, Jeffrey P.
                                         Bezos, and/or the Washi11gto11 Post.

                                      d. President Trump's communications and interactions
                                         with fonuer Secretary of Defense Jatnes Mattis
                                         regarding:

                                          1. The JEDI program, contract, solicitation, and/or
                                             award;

                                          2. AWS, Amazon, Jeffrey P. Bezos, and/or the
                                             Washington Post;

                                          3. The tenuination and/or resignation of Secretary
                                             Mattis.

                                      e. President Tmrnp's communications and internctions
                                         with Secreta1y of Defense Mruk Esper regarding:

                                          1. The appointment of Mark Esper as Secretaiyr of
                                             Defense;

                                          2. The JEDI program, contract, solicitation, ancVor



1
    A WS recognizes that a deposition of a sitting President of the United States presents unique
    circumstances and will work with the Court and the Depmtment of Justice to develop
    appropriate p1:otocols and safeguards, including to evaluate possible alternative methods, to
    ensure that the testimony is procured in a manner sensitive to the unique position of the
    Executive Office of the President.


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         Per on                            Topic(s) for E nminatioo

                                  award;

                               3. AWS, Amazon, Jeffrey P. Bezos, and/or the
                                  Washington Post.

                          f.   President Trump's communications and interactions
                               with Department of Defense Chieflnfom1ation Officer
                               Dana Deasy regarding:

                               1. The appointmeut of Dana Deasy as Chief
                                  Information Officer;

                               2. The JEDI program, contract, solicitation, and/or
                                  award;

                               3. AWS, Amazon, Jeffrey P. Bezos, and/or the
                                  Washington Post.

                          g. President Trump's communications and interactions
                             with:

                               1. The Source Selection Authority,


                               2. The Chanperson and sole member of the Source
                                  Selection Evaluation B o a r d , - ·

                               3. The Chanperson and/or any members of the Source
                                  Selection Advisory Council;

                               4. Any other member of the Source Selection Team.

                          h. Any documents or information in the administrative
                             record, the Appendix, or iu subsequent discovery
                             production(s) that were drafted, edited, received,
                             reviewed, sent, signed, or othe1wise authorized by
                             President Tmmp.




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           Person                           Topic(· for E amination

Hon. James Mattis, F01mer   a. Secretary Mattis' s involvement in any aspect of the
Secreta1y of Defense           JEDI program, contract, solicitation, and/or award.

                            b. Secretary Mattis's commWlications and interactions
                               with President Donald Tnunp, President Trump's
                               advisors, White House officials, and/or any individuals
                               employed by or acting on behalf of President Tnunp,
                               his advisors, or White House officials regarding the
                               JEDI program, contract, solicitation, and/or award,
                               A WS, Amazon, Jeffrey P. Bezos, and/or the
                               Washington Post.

                            c. Secretaiy Mattis's awareness and consideration of any
                               statements by President Trump regarding A WS,
                               Amazon, Jeffrey P. Bezos, the Washington Post, ancVor
                               the JEDI program, contract, solicitation, and/or award.

                            d. Secretary Mattis's communications and interactions
                               with Oracle, Microsoft, and/or any other offeror for the
                               JEDI solicitation.

                            e. The resignation and/or termination of Secretaiy Mattis
                               from his appointment as Secretary of Defense.

                            f.   Any documents or information in the administrative
                                 record, the Appendix, or in subsequent discove1y
                                 production(s) that were drafted, edited, received,
                                 reviewed, sent, signed, or othe1wise authorized by
                                 Secreta1y Mattis.

                            g. Any documents or infonnation not in the administrative
                               record that were reviewed or considered by Secretary
                               Mattis or DoD in connection with the JEDI program,
                               contract, solicitation, and/or award.




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Hon. Mark T. Esper, Secretary   a. Secretary Esper's involvement in any aspect of the
ofDefense                          JEDI program, contract, solicitation, and/or award.

                                b. Secretary Esper's communications and interactions
                                   with President Trump, President Tnunp's advisors,
                                   White House officials, and/or any individuals
                                   employed by or a ting on behalf of President Tnunp,
                                   his advisors, or White House officials regarding the
                                   JEDI program, contract, solicitation, and/or award,
                                   AWS, Amazon, Jeffrey P. Bezos, and/or the
                                   Washington Post.

                                c. Secreta1y Esper's awareness and consideration of any
                                   statements by President Trump regarding A WS,
                                   Amazon, Mr. Bezos, the Washington Post, and/or the
                                   JEDI program, contract, solicitation, and/or award.

                                d. Secretary Esper's August 2019 decision to conduct an
                                   examination of the JEDI program, contract, solicitation,
                                   and/or award.

                                e. Secretary Esper's communications aud interactions
                                   with Oracle, Microsoft, and/or any other offeror for the
                                   JEDI solicitation.

                                f.   Secretary Esper's comnnmications and interactions
                                     with any member of the Source Selection T earn.

                                g. Secreta1y Esper's decision to recuse himself from the
                                   JEDI proci.treruent process.

                                h. Any documents or info1mation in the administrative
                                   record, the Appendix, or in subsequent discovery
                                   production(s) that were drafted, edited, received,
                                   reviewed, sent, signed, or otheiwise authorized by
                                   Secreta1y Esper.

                                1.   Any docmnents or infom1ation not in the administrative
                                     record that were reviewed or considered by Secretary
                                     Esper or DoD in connection with the JEDI program,
                                     contract, solicitation, and/or award.

                                J.   Secretaiy Esper's interactions with, relationships with,
                                     and opinions regarding Mr. Bezos, Amazon, A WS,
                                     and/or the Washington Post.




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            Person                                 Topic( ) for Examination

Mr. Dana Deasy, Chief             a. Mr. Deasy's involvement in any aspect of the JEDI
Infonnation Officer, Depa1iment      program, contract, solicitation, and/or award.
of Defense
                                  b. Mr. Deasy's October 29, 2019, Senate confirmation
                                     hearing statements regarding the JEDI program,
                                     contract, solicitation, and/or award.

                                  c. Mr. Deasy's collllllunications and interactions with
                                     President Tllllilp, President Tmmp's advisors, White
                                     House officials, and/or any individuals employed by or
                                     acting on behalf of President Trump, his advisors, or
                                     White House officials regarding the JEDI program,
                                     contract, solicitation, and/or award, A WS, Amazon,
                                     Jeffrey P. Bezos, and/or the Washington Post.

                                  d. Mr. Deasy's awareness and consideration of any
                                     statements by President Tmmp regarding A WS,
                                     Amazon, Mr. Bezos, the Washington Post, and/or the
                                     JEDI program, contract, solicitation, and/or award.

                                  e. Mr. Deasy's colllllllmications and interactions with
                                     Oracle, Microsoft, and/or any other offeror for the JEDI
                                     solicitation.

                                  f.   Mr. Deasy's communications and interactions with any
                                       member of the Source Selection Team.

                                  g. Any documents or information in the administrative
                                     record, the Appendix, or in subsequent discovery
                                     production(s) that were drafted, edited, received,
                                     reviewed, sent, signed, or otherwise authorized by
                                     Mr. Deasy.

                                  h. Any docmnents or information not in the administrative
                                     record that were reviewed or considered by Mr. Deasy
                                     or DoD in co1mection with the JEDI program, contract,
                                     solicitation, and/or award.

                                  1.   Mr. Deasy's interactions with, relationships with, and
                                       opinions regarding ivfr. Bezos, Aruazou, A WS, and/or
                                       the Washington Post.




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                                                        involvement in any aspect of
                                 the JEDI program, contract, solicitation, and/or award.

                            b.                            collllllunications and
                                 interactions with President Tnunp, President Tmmp's
                                 advisors, White House officials, and/or any .individuals
                                 employed by or acting on behalf of President Tnunp,
                                 his advisors, or White House officials.

                            c.                            awareness and consideration of
                                 any statements by Pr si leu't Trump rega1·ding A WS,
                                 Amazon, Mr. Bezos, the Washington Post, and/or the
                                 JEDI program, contract, solicitation, and/or award.

                            d. -                           communications and
                                 ~                        . Microsoft, and/or any other
                                 offeror for the JEDI solicitation.

                            e. -        communications and
                               = e m b e r of the Source Selection
                               Team.

                            f.   Any documents or info1mation in the administrative
                                 record, the Appendix, or in subsequent discovery
                                 production(s) that were drafted, edited, received,
                                 revi wed. sent. . i1m d, or othe1wise autl1orized by


                            g. Any docmnents or infonnation not in the administrative
                               record that were reviewed or conside1·ed by -
                                               or DoD in connection with the JEDI
                               program, contract, solicitation, and/or award.

                            h. -                     interactions with, relationships
                               ~                    · ling Mr. Bezos, Amazon,
                               AWS, and/or the Washington Post.




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          Person                                Topic(s) for Examination

-             Chairperson of   a. -             iuvolv ment in any aspect of the JEDI
~           ctiouAdvisory         progrnlll, contract, solicitation, and/or award.
Council
                               b. -            communications and interactions with
                                  President Tnunp, President Trnmp's advisors, White
                                  House officials, and/or any individuals employed by or
                                  acting on behalf of President Tmmp, his advisors, or
                                  White House officials.

                               c. -            awareness and consideration of any
                                  statements by President Trump regarding A WS,
                                  Amazon, Mr. Bezos, the WasM11gton Post, and/or the
                                  JEDI program, contract, solicitation, and/or award.

                               d. -              commtmications and interactions with
                                  ~             -osoft, and/or any other offerer for the JEDI
                                  solicitation.

                               e. -  communications and interactions with any
                                  ~ he Source election Team.

                               f. Any documents or infonuation in the administrative
                                  record, the Appendix, or in subsequent discovery
                                  productiou(s) that were drafted, edited eceived



                                  -
                                  reviewed sent signed, or otherwise authorized by ■


                               g. Any document · or infonuation 110 1 i.11 th e administrative
                                  record th::it w ~re revi we I or considered by_
                                  or DoD in connection with the JEDI program, contract,
                                  solicitation, and/or award.

                               h. -          interactions with, relationship with, and
                                  OJJinions regarding 1.r. Bezo , Amazon,   WS , an or
                                  the WasMngton Post.




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           Per on                           Topic,() for Ex: ruination

_        , Chairperson of    a. -           involvement in any aspect of the JEDI
~ c t i o n Evaluation          program, contract, solicitation, and/or award.
Board
                             b. -            communications and interactions with
                                President Trump, President Trnmp's advisors, White
                                House officials, and/or any individuals employed by or
                                acting on behalf of President Tmmp, l1is advisors, or
                                White House officials.

                             c. -           awareness and consideration of any
                                statements by President Trump regarding A WS,
                                Amazon, Mr. Bezos, the Washington Post, and/or the
                                JEDI pro~ contract, solicitation, and/or award.

                             d. -             communications and interactions with
                                ~ r o s o f t , or any other offeror for the JEDI
                                solicitation.

                             e. -  communications and interactions with any
                                ~ e our_ce election Temu.

                             f. Any documents or infomiation in the administrative
                                record, the Appendix, or in subsequent discovery
                                production(s) that were drafted edited, received,
                                - e d, sent, signed, or otherwise t1uthorized by ■


                             g. Any documents or .infomurtion not in the administrative
                                recmd that were reviewed or considered b y _
                                or DoD in counectioo with the JEDI program contract,
                                solicitation, and/or award.

                            h. -            interactions with, relationships with, and
                               opinions regarding Mr. Bezos, Amazon, A WS, and/or
                               the Washington Post.




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Dated: January 17, 2020         By:       ~/14(~
                                       -Kevin
                                        ---      - - - - -- - - - - - -
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                                        MORRISON & FOERSTER LLP
                                        2000 Pennsylvania Ave., N.W.
                                        Washington, DC 20006-1888
                                        Telephone: 202.887.1500
                                        Facsimile: 202.887.0763
                                        Attorney of Record for Plaintiff
                                        Amazon Web Services, Inc.

                                        Attorney o/Recordfor Plaintiff
                                        Amazon Web Services, Inc.


Of Counsel:

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Daniel E. Chudd                         Daniel P. Chung
Sandeep N. Nandivada                    GmsoN, DUNN & CRUTCHER LLP
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                           EXHIBITB
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                  IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                                   BID PROTEST


AMAZON WEB SERVICES, INC.,
                                                          Case No. 19-cv-01796
                        Plaintiff,
                                                          Judge Campbell-Smith
     V.

UNITED STATES OF AMERICA,
by and through the U.S. Department of Defense,
                                                          REDACTED VERSION
                        Defendant,

     and

MICROSOFT CORPORATION,

                        Defendant-Inte1venor.



                        PLAINTIFF AMAZON WEB SERVICES, INC.'S
                            FIRST SET OF INTERROGATORIES

          Pursuant to Rule 36 of the Rules of the Comt of Federal Claims and this Court's order(s),

Plaintiff Amazon Web Services, Inc. ("AWS") hereby requests that within fourteen (14) days of

the date of service of this document, Defendant United States, by and through the United States

Department of Defense ("DoD''), answer the following inte1rngatories. All terms used herein shall

have the same meaning as set fo11h in AWS's Renewed Motion to Supplement the Administrative

Record. A WS propounds this First Set of Interrogatories without waiver of its right to propound

additional inte1rngatories as autho1ized by the applicable rules and the Comt's order(s).

                                      INTERROGATORIES

          1.     Please explain all bases and reasons for Secretary of Defense Mark Esper's order

to examine the JEDI award process on August 1, 2019.
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       2.      Please describe all actions that were taken in response to Secretary Esper's

August 1, 2019, order to examine the JEDI award process, including all persons involved and the

outcome(s) of those actions.

       3.      Please explain why Secretary Esper recused himselfin October 2019 from the JEDI

source selection decision, including the reasons for the timing of bis recusal, and the extent of his

participation in the JEDI source selection decision prior to his recusal.

       4.      Please explain how and why the members of the Source Selection Team (including

the Technical Evaluation Board, Price Evaluation Board, Sow-ce Selection Evaluation Board,

Source Selection Advisory Committee, and Source Selection Authority) were selected.

       5.      Did the Source Selection Authority modify in any way the recommendation of the

Source Selection Advisory Council and/or Source Selection Evaluation Board? If so, please

describe the modifications that were made, the time of the modification(s), and the reason(s) for

the modification(s).

       6.      Please explain all events and interactions relating to the JEDI award that occurred

between the October 17, 2019, execution of the Source Selection Decision Document, mid the

October 25, 2019, public annom1cement of the JEDI awai·d to Microsoft. To the extent any

individual(s) was infonned of the JEDI awai·d decision during this time frame, please identify tl1e

individual(s), the substance of the communication(s), and the reason(s) for the conmmnicatiou(s).

       7.      Please explain what steps, if ai1y, DoD took to ensure that the individuals involved

in the JEDI somce selection process were not intluenced by the public or private statements of

President Trump, his advisors, White House officials, ancVor any individuals employed by or

acting on behalf of President Trnmp, his advisors. or White House officials regarding the JEDI

Contract and award, Mr. Bezos, Amazon, A WS . ancVor the Was/Ji11gto11 Post.




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         8.    Please identify and describe all interactions between President Trump, his advisors,

White House officials, and/or any individuals employed by or acting on behalf of President Tnunp,

his advisors, or White House officials, with DoD regarding the JEDI program, contract,

solicitation, and/or award.

         9.    Please identify and describe all interactions between DoD and any offeror ( or

potential offeror) of the JEDI solicitation that relate to Mr. Bezos, Amazon, A WS, and/or President

Tnunp.



Dated: January 17, 2020                       By:
                                                     Kevin P. Mullen
                                                     MORRISON & FOERSTER LLP
                                                     2000 Pennsylvania Ave., N.W.
                                                     Washington, DC 20006-1888
                                                     Telephone: 202.887.1500
                                                     Facsimile: 202.887 .0763

                                                     Attorney ofRecordfor Plaintiff
                                                     Ama=on Web Services, Inc.


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                  IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                                   BID PROTEST


AMAZON WEB SERVICES, INC.,
                                                          Case No. 19-cv-0l 796
                       Plaintiff,
                                                          Judge Campbell-Smith
     V.

UNITED STATES OF AMERICA,
by and through the U.S. Department of Defense,

                       Defendant,                         REDACTED VERSION

     and

MI ROSOFT CORPORATION,

                       Defendant-Inte1venor.



                        PLAffiTIFF AMAZON WEB SERVICES, INC.'S
             Fm T SET OF REQUEST FOR PRODUCTION OF DOCUMENTS

          Pursuant to Rule 34 of the Rules of the Court of Federal Claims and this Comt's order(s),

Plaintiff Amazon Web Services, Inc. ("AWS") hereby requests that within fomteen (14) days of

the date of service of this document, Defendant United States, by and through the United States

Department of Defense ("DoD"), answer the following requests for production of documents. All

terms not defmed herein shall have the meaning as set forth in A WS 's Renewed Motion to

Supplement the Administrative Record. A WS propounds this First Set of Requests for Production

of Documents without waiver of its right to propound additional requests for production as

authorized by the applicable rules and the Comi's order(s).




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                                           REQUESTS 2

         1.     Please produce all drafts, memoranda, notes, rev1s1ons, working documents,

analyses, and other materials relating to the JEDI contract, solicitation, and/or award, including all

analyses and evaluations of proposals submitted.

        2.      Please produce all docwnents and communications relating to the evaluation and

analysis of results from any demonstration presented by AWS or Microsoft.

         3.     Please produce all communications, and document relating to communications,

between any member of the SSA, SSAC, and/or SSEB on the one hand, and any individual who

is not a member of the SSA, SSAC, and/or SSEB on the other hand, conceming the JEDI contract,

solicitation, and/or award.

        4.      Please produce all co1ll1Ilunications, and documents relating to communications,

involving any member of the SSA, SSAC, and/or SSEB concerning President Trump, his advisors,

White House officials, and/or any individuals employed by or acting on behalf of President T.rnmp,

his advisors, or White House officials.

        5.      Please produce all documents and communications relating to any review,

evaluation, and/or analysis of potential conflicts of interest regarding the JEDI solicitation,

contract, and/or award.

        6.      Please produce all communications, and documents relating to communications,

between DoD and President Trump, his advisors, White House officials, and/or any individuals


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     For the purposes of these requests, "documents" and "communications" include, without
     limitation, every writing or record of whatever type, fonn, or description, including all drafts
     of such, and including but not limited to any electronically stored data, co1rnmmications, or
     paper documents (including all metadata, embedded, hidden, and other bibliographic or
     historical data describing or relating to the document or communication). "Docmnents relating
     to communications" includes, without limitation, calendars, meeting agendas, notes, or
     minutes, concerning all appointments, telephone calls., conferences, and/or other meetings.


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employed by or acting on behalf of President Trump, his advisors, or White House officials,

relating to the JEDI solicitation, contract, and/or award.

        7.      Please produce all communications, and documeJlts relating to communications,

between DoD and President Trnmp, his advisors, White House officials, and/or any individuals

employed by or acting on behalf of President Trump, his advisors, or White House officials,

relating to Mr. Bezos, Amazon, A WS, the Washington Post, and/or the JEDI solicitation, contract,

or award.

        8.      Please produce all communications, and documents relating to communications,

between DoD and President Trump, his advisors, White House officials, and/or any individuals

employed by or acting on behalf of President Trump, his advisors, or White House officials,

relating to Oracle, IBM, Microsoft, and/or any other offeror ( or potential offeror) for the JEDI

solicitation.

        9.      Please produce all documents and communications relating to the JEDI solicitation,

contract, and/or award that reference President Trump, his advisors, White House officials, and/or

any individuals employed by or acting on behalf of President Trump, his advisors, or White House

officials.

        I 0.    Please produce all documents and communications concerning any of President

Tl1llllp's tweets, the phrases "screw Amazon," "Bezos Bailout," ''No Bid Bezos," and/or the

"Amazon Washington Post," and/or Guy M. Snodgrass and/or his book, Holding the Line: Inside

Trump's Pentagon with Secretary ~Mattis.




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Dated: January 17, 2020           By:
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                                        Telephon : 202.887.1500
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                                        Attorney ofRecord for Plaintiff
                                        Amazon Web Services, Inc.


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                                        Eric D. Vandevelde
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